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UNITED STATES DISTRICT COURT                   support [his] . . . baseless [Wiretap Act]
SOUTHERN DISTRICT OF GEORGIA                   claim' failed on the merits, as well as being
    STATESBORO DIVISION                        procedurally defaulted. ECF No. 30 at 3-14.
                                               Contrary to Alvin's assertion, the FOLk
MISTRELL ALVIN,
                                               response does not call in to question that
Movant,                                        ruling, nor any other ruling of the Court.
                                               His "Jurisdictional Claim" is equally
V   .                 6:11-cv-65               meritless.
                      6:06-cr-26
                                                   Accordingly, Alvin's motion for
UNITED STATES OF AMERICA,                      reconsideration is DENIED.

Respondent.
                                               This   LL day of June 2013.
                  ORDER
        I. INTRODUCTION
    Before the Court is Movant Mistrell        UNITED STATES DIS RICT COURT
Alvin's Motion for Reconsideration, ECF        SOUTHERN DISTRICT OF GEORGIA
No. 55, of this Court's Order Denying his
Federal Rule of Civil Procedure 60 Motion
for Relief from a Judgment or Order. ECF
No 53. Alvin's motion is DENIED.
    Alvin contends that the Court erred in
finding that his "Rule 60 motion merely
regurgitate[dJ and rehashe[d] old arguments
from his § 2255 motion and 59(e) motions."
ECF No. 55 at 2. He contends that the Court
failed to consider newly discovered
evidence—mainly the response from his
Freedom of Information Act (FOIA)
request—as well as his "Jurisdictional
Claim." Id. at 2-3.
    Alvin can rest assured because the Court
considered all of the evidence and
arguments he presented. This Court's—and
the Eleventh Circuit's—previous rulings,
however, found Alvin's arguments lack
merit. The Magistrate Judge's Report and
Recommendation, in particular, outlined the
reasons that Alvin's "lame attempt to
